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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NEW YORK
_________________________________________
CHRISTOPHER GODSON, on behalf of
himself and all others similarly situated,
                                           No. 11-CV-764(EAW)(HKS)
                          Plaintiff,
            vs.                            CLASS ACTION


ELTMAN, ELTMAN & COOPER, P.C. and
LVNV FUNDING, LLC,

                        Defendants.
__________________________________________

                    Plaintiff’s Memorandum in Support of the
                      Plaintiff’s Motion for Final Approval of
         Class Action Settlement, Attorney Fees, and Representative Fees

Respectfully Submitted,

PLAINTIFF CHRISTOPHER GODSON,
individually and on behalf of the Class.

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       Introduction and Class Member Response to the Notice of Settlement

      Plaintiff Christopher Godson and Class Counsel did an extraordinary job

here. After seven years of written discovery practice, depositions of parties and non-

parties all around the country, motion practice resulting in multiple decisions

published in the Federal Supplement and on Westlaw and Lexis, expert review of

Defendants’ financial records, and two lengthy settlement conferences before Hugh

Russ, Esq., the parties settled. Due to Mr. Godson’s diligence, 247 class members

are going to receive $688 each, if this settlement is approved. This represents 69%

of the maximum recovery for statutory damages that each class member would be

entitled to if he or she found and retained counsel and sued successfully. Given that

one of the defendants, Eltman, Eltman & Cooper, P.C., later known as EltmanLaw,

P.C., has recently closed its doors, the chances of a pro se class member or a non-

specialist lawyer being able to navigate the Fair Debt Collection Practices Act and

the courts to recover in an individual lawsuit are practically nil.

      In an environment in which the tabloids castigate class-action litigants for

recovering pennies, assuming approval, no one can claim that a payment of $688 to

each class member is anything less than rare and exceptional.

      In reviewing the settlement and fee-request, Class Counsel asks that Court

bear in mind that it was not until the parties appeared for a deposition in Raleigh,

North Carolina, on September 15, 2017, that Defendants’ attorney, Concepcion

Montoya, Esq., revealed that Defendants had miscalculated the number of class
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members. Ms. Montoya revealed that the number of class members was in fact 270,

not 977 as Defendants had represented until then. In other words, it was not until

then, after six years of litigation, that Class Counsel learned that the number of

class members was only one quarter the number Defendants had provided earlier.

Plaintiff’s attorneys made a settlement demand during the same conversation —

subject to Mr. Godson’s approval, of course. Ms. Montoya advised she would discuss

the matter with her client and that, in the meantime, the parties should continue

with litigation.

      Accordingly, under Fed. R. Civ. P. 23, Plaintiff moves this Court for final

approval of the proposed class-action settlement. As explained below, notice has

been provided to the Class Members in accordance with the Court’s Preliminary

Approval Order. Not surprisingly, none of the class members have opted out or

objected. This substantial recovery for the Class Members merits final approval of

the settlement.

I.    Background and Summary of Settlement

      The history of this case and the settlement are as follows. Mr. Godson filed

this case on September 9, 2011, on behalf of himself and a class of similarly situated

New York consumers. In his complaint, Godson alleged that Defendant Eltman,

Eltman & Cooper, P.C. (“Eltman”) sent him a letter (the “Letter”) that violated the

Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., in that it

incorrectly stated the amount of a debt Godson owed to Defendant LVNV Funding,


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LLC (“LVNV”). Specifically, Plaintiff alleged, the amount listed in the Letter was

incorrect because it did not include all the interest. (A true and accurate copy of the

Letter Eltman sent to Godson can be found at Docket No. 224-2. Godson moved to

certify the class on March 27, 2012, and LVNV moved for summary judgment on

October 18, 2013 – but the Court never had the opportunity to decide either motion,

as both required further discovery. Extensive discovery, as well as discovery-related

motion practice, followed. See Godson v. Eltman, Eltman & Cooper, P.C., 2017 U.S.

Dist. LEXIS 2856 (W.D.N.Y. Jan. 9, 2017); Godson v. Eltman, Eltman & Cooper,

P.C., 177 F. Supp. 3d 803 (W.D.N.Y. 2016); Godson v. Eltman, Eltman & Cooper,

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(W.D.N.Y. Sept. 11, 2013).

      On November 7, 2017, the parties engaged in an all-day mediation before

Hugh Russ, Esq. as part of the Western District of New York’s Settlement Week.

(This was the parties’ third mediation before Mr. Russ.) The parties agreed to the

broad outlines of a class settlement on that date and have been hammering out the

details since then. The result of these discussions has been memorialized in a Class

Action Settlement Agreement and Release (the “Agreement”), which can be found at

Docket No. 224-3.




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      In summary, the parties have agreed to a fund of $180,000 for a statewide

class settlement to compensate the settlement class of approximately 270

individuals, of whom, unfortunately, only 247 could be located (the “Class”). From

this settlement fund, the parties will deduct only the amount going to the class

representative Christopher Godson; neither the costs of notice, distribution, and

payment of the Settlement Administrator nor attorney fees for Class Counsel will

be deducted from the fund. In addition, the judgment against Mr. Godson in Florida

is being vacated and dismissed. The Settlement Administrator will distribute the

remainder of the fund to the 247 Class members — none of whom excluded

themselves from the Class.

      Under the Agreement, Class Counsel are petitioning this Court for an award

of attorney fees and costs not to exceed $350,000; Defendants have agreed not to

object to Class Counsel’s fee petition. Considering the extensive amount of time and

effort devoted to this case, counsel believes the full $350,000 attorney fees and costs

authorized under the settlement are justifiable.

      The proposed individual award of $10,000 to Mr. Godson, the Class

Representative, is based on his involvement in appearing for a deposition, actively

litigating the case, and negotiating the settlement in two separate settlement

conferences.




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      Under Fed. R. Civ. P. 23(e), Plaintiff – with Defendants’ consent – moved for

class certification and preliminary approval of the proposed class action settlement.

Specifically, Plaintiffs requested that the Court certify the following proposed class:

             All consumers who, according to Defendant's records, had
             a New York address and: (a) within one year prior to the
             filing of this action; (b) were sent collection letters bearing
             Eltman's letterhead in a form materially identical or
             substantially similar to the letter sent to the Plaintiff and
             attached as Exhibit A; and (c) which were not returned by
             the postal service as undelivered.

On May 21, 2018, the Court granted preliminary approval of the Settlement, Dkt.

232, and scheduled a Fairness Hearing for September 25, 2018.

      The Parties agreed to a direct-mail notice program designed to reach all the

Class Members. Defendants, through First Class, Inc. – a class action

administration company – distributed direct-mail notice to the Class Members

using the last known physical addresses of those Class Members as reflected in

Defendants’ business records. See the accompanying Declaration of Bailey Hughes,

dated September 11, 2018. The class list provided to First Class identified 270

consumers to whom Defendants sent the same or similar collection letters at issue

in this matter; First Class searched the list for duplicate records, but found none. As

detailed in the Declaration of Bailey Hughes, before mailing notice to the Class

Members, First Class utilized the National Change of Address update process of the

U.S. Postal Service to update the addresses in the class list. Following these efforts,

notice of the class action settlement was mailed to 270 Class Members in


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accordance with the Court’s Preliminary Approval Order. Hughes Declaration at ¶

7. Of the 270 notices mailed to Class Members, 1 notice was returned by the U.S.

Postal Service with a new address and re-mailed, and 39 were returned as

undeliverable with no forwarding address. Hughes Declaration at ¶ 9. Of those 39,

First Class was able to find new addresses and resend notice to 20, and, of those 20,

four were returned as undeliverable. Therefore, the direct mailing may be estimated

to have reached approximately 247 of the 270 Class Members.

      In sum, the Parties have complied fully with the Court’s Preliminary

Approval Order and have taken reasonable steps to ensure that the Class Members

were notified – in the best and most direct manner possible – of the Settlement’s

terms and benefits.

     I.     Court Approval of Class Action Settlements

      The Parties seek, under the terms of the Court’s Preliminary Approval Order

and federal law, final approval of the Settlement. The Settlement is the result of

litigation, followed by lengthy settlement negotiations conducted at arm’s length.

Most significantly, the Settlement provides significant monetary benefit to the

Class Members.

      A class settlement, and subsequent dismissal of the case, requires Court

approval. Fed. R. Civ. P. 23(e)(1)(A). The process for that approval is discussed

generally in Rule 23(e), which provides, in relevant part:

             (e) Settlement, Voluntary Dismissal, or Compromise.

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             The claims, issues, or defenses of a certified class may be
             settled, voluntarily dismissed, or compromised only with
             the court's approval. The following procedures apply to a
             proposed settlement, voluntary dismissal, or compromise:

             (1) The court must direct notice in a reasonable manner to
             all class members who would be bound by the proposal.

             (2) If the proposal would bind class members, the court
             may approve it only after a hearing and on finding that it
             is fair, reasonable, and adequate. . . .

Fed. R. Civ. P. 23(e).

      Rule 23(e) thus imposes two basic requirements on the parties and on the

Court before the approval of a class settlement and dismissal. First, the Court must

determine that notice was directed “in a reasonable manner to all class members.”

Fed. R. Civ. P. 23(1). Second, the Court must determine that the settlement “is fair,

reasonable, and adequate.” Fed. R. Civ. P. 23(2). Plaintiff addresses these

requirements seriatim.

      Federal jurisprudence strongly favors resolution of class actions through

settlement. San Francisco NAACP v. San Francisco Unified Sch. Dist., 59 F. Supp.

2d 1021, 1029 (N.D. Cal. 1999); see also Alba Conte & Herbert Newberg, Newberg

on Class Actions § 11.41 (4th ed. 2002) (“The compromise of complex litigation is

encouraged by the courts and favored by public policy.”) Federal Rule of Civil

Procedure 23 requires Court review of the resolution of a class action such as this

one. Specifically, the Rule provides that “[t]he claims, issues, or defenses of a

certified class may be settled, voluntarily dismissed, or compromised only with the


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court’s approval.” Fed. R. Civ. P. 23(e). The court-approval requirement, as the

Advisory Committee explained, is intended “to strengthen the process of reviewing

proposed class-action settlements.” Fed. R. Civ. P. 23(e), Advisory Committee Notes,

2003 amendments. The Committee noted in particular that “court review and

approval are essential to assure adequate representation of class members who

have not participated in shaping the settlement.” Id. The Court may approve a

settlement only after a hearing and on finding that it is “fair, reasonable, and

adequate.” Fed. R. Civ. P. 23(e)(2).

II.     The Notice was Reasonable and the Best Practicable

        In a settlement class maintained under Rule 23(b)(3), class notice must meet

the requirements of both Federal Rules of Civil Procedure 23(c)(2) and 23(e). Rule

23(e) specifies that “[n]o class action may be ‘dismissed or compromised without

[court] approval,’ preceded by notice to class members.” Fed. R. Civ. P. 23(e). Rule

23(c)(2) requires that notice to the class must be “the best practicable under the

circumstances, including individual notice to all members who can be identified

through reasonable effort.” Fed. R. Civ. P. 23(c). The Rule also requires that the

notice inform potential class members that (1) they have an opportunity to opt out;

(2) the judgment will bind all class members who do not opt out or appear through

counsel. Id. The Court must consider the mode of dissemination and the content of

the notice to assess whether such notice was sufficient. See Manual for Complex

Litigation (Fourth) § 21.312 (2004).


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      Due process, in the class action context, requires that the form of notice be

“reasonably certain to inform those affected.” Vancouver Women’s Health Collective

Soc’y v. A.H. Robins Co., Inc., 820 F.2d 1359, 1364 (4th Cir. 1987). The Supreme

Court has concluded that direct notice satisfies due process. Phillips Petroleum Co.

v. Shutts, 472 U.S. 797, 812-13 (1985). Here, the Parties’ efforts to provide Class

Members with Notice of the Class Action demonstrate clearly that they were the

best notice practicable under the circumstances given: (a) the available information;

(b) the possible identification methods; (c) the number of class members; (d) the

amount of the settlement; (e) the value to the class as a whole by holding up the

settlement process for the other class members; (f) the significant additional costs to

class members; and (g) the anticipated results of further identification efforts. Thus,

the Court should find that the Notice of the Class Action (and process followed as

described above) satisfies Rule 23.

   III.   Factors Bearing on Final Approval

      The Second Circuit has enumerated nine factors, known as the Grinnell

factors, to guide courts in evaluating the fairness of a proposed settlement:

      (1) The complexity, expense and likely duration of the litigation, (2) the
      reaction of the class to the settlement, (3) the stage of the proceedings
      and the amount of discovery completed, (4) the risks of establishing
      liability, (5) the risks of establishing damages, (6) the risks of
      maintaining the class action through trial, (7) the ability of the
      defendants to withstand a greater judgment, (8) the range of
      reasonableness of the settlement fund in light of the best possible
      recovery, (9) the range of reasonableness of the settlement fund to a
      possible recovery in light of all the attendant risks of litigation[.]


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City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974) (internal

citations omitted). The central question here is whether the compromise is

fair, reasonable, and adequate. Id., citing Weinberger v. Kendrick, 698 F.2d

61, 73 (2d Cir. 1982).

      A. The complexity, expense and likely duration of the litigation

      This case is complex factually, raising significant legal questions regarding

whether the Defendants’ conduct violated the FDCPA. Continued litigation would

be costly and if the case is not settled, it is likely that a final adjudication would not

take place for at least two more years. Accordingly, this factor favors approval of the

settlement.

      B. Reaction of the Class to the settlement

      The reaction of the Class to the settlement has been positive. There have

been no objections and no class members have requested exclusion. See Hughes

Declaration. No objections and only nine exclusion requests tip “heavily in favor of a

strong presumption of fairness.” See In re: Rite Aid Securities Litigation, 269

F.Supp. 2d 602, 608 (E.D. Pa. 2003); also see Aramburu v. Healthcare Financial

Services, Inc., No. 02-CV-6535, 2009 WL 1086938, *4 (E.D.N.Y. April 12, 2009) (The

fact that no class members opted out or objected weighs in favor of approval).

      C. The stage of the proceedings and the amount of discovery completed

      The parties engaged in years of discovery and motion practice to prove up the

case, eliminate affirmative defenses, determine the degree of control of LVNV over


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Eltman, determine class size and Defendants’ net worth, and learn other key

information needed to move for class certification and judgment or settlement. This

included years of discovery and motion-practice, lengthy, multiple telephone

conferences, email communications and two lengthy settlement conferences before

Hugh Russ, Esq. with Mr. Godson present.

      D. The risk of establishing liability and damages

      Although Plaintiff believes liability to be strong, Defendants deny liability. If

tried, Plaintiffs would bear the burden of establishing that the notices violated the

FDCPA. Defendants vigorously deny any wrongdoing, have asserted numerous

defenses and maintain that the notices that are the subject of this case comply in all

respects with the FDCPA. But the biggest risk here is not proving liability, but

making certain that LVNV is held liable now that Eltman has folded and obtaining

a judgment near one percent of LVNV’s net worth. That is, there is no minimum to

class recoveries under the FDCPA – a jury could just as easily choose to award

nothing as award $500,000. (After lengthy motion practice, for purposes of this

litigation, LVNV has waived any claim that its net worth is less than $50 million.)

And with $1,000 as the maximum individual recovery for the class members,

Plaintiff would be in the position of arguing entitlement to more than $1,000 for

each class member for a violation that cost few, if any, of the class members any

money out-of-pocket. In other words, discovery revealed that LVNV eventually

backed out the incorrect calculations of interest for the class members. Thus, given


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the lack of provable actual damages for most class members, this is not an idle

concern.

      E. The risks of maintaining the class action through the trial

      During litigation, the unexpected does happen and must be considered. Here,

after years as one of the largest debt-collection law firms in New York, Eltman

folded. This has happened before to one of the Plaintiffs’ attorneys, Brian L.

Bromberg. A number of years ago in a case pending in the District of Connecticut,

Lemire v. Wolpoff & Abramson, LLP, 3:08-cv-249(CSH), an FDCPA class had to be

decertified after a settlement had been reached because the successor law firm to

the defendant – the largest debt-collection law firm in the country – had gone into

receivership. Although Class Counsel believe that LVNV can withstand a judgment

for the full $500,000, plus fees and costs, LVNV’s liability would have to be proven.

In short, the vagaries of litigation must be taken into account in evaluating a

settlement’s reasonableness and with one defendant out of business, the case should

settle now.

      F. The ability of Defendants to withstand a greater judgment

      This is a significant factor in determining the fairness of the settlement.

Eltman has already gone out of business and while LVNV is one of the largest debt-

buyers in the country, there is no guarantee that it could survive a recession.

Throughout this litigation, Plaintiffs’ attorneys have been well-aware that LVNV,

whose fortunes rise and fall on the basis of what hard-pressed consumers can pay,


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could suffer a quick downturn and close for business. Although LVNV will not be

bankrupted by this case, there is always some urgency nowadays when litigating

against a debt-buyer.

         G. The range of reasonableness of the settlement in light of the best possible
            recovery in light of all the attendant risks; opinions of class counsel

         This factor also weighs toward settlement. The 247 class members will be

receiving checks for $688 each. Any remaining funds will be distributed as cy pres

to the Western New York Law Center.

         Class members will be receiving checks for $688 – 69%% of the maximum

individual statutory damages of $1,000 each. Even if Plaintiff were to win on a

motion for contested class certification (and any interlocutory appeal from class

certification), win on liability, win at trial (and any appeal from final judgment),

Plaintiff and the Class might still not recover as much as $688.

         Defendants agreed to this settlement for economic reasons and to avoid the

burdens of litigation without an admission of wrongdoing. Still, it resulted in an

excellent recovery. In addition to the recovery for the class members, and the award

to the class representative, counsel also negotiated for Defendants to pay class

counsel fees and costs. For these reasons, the settlement is fair and reasonable and

Class Counsel have endorsed it.



   IV.      Award to representative Plaintiffs



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         Plaintiffs request, and Defendants have agreed not to object to, a personal

award of $10,000 to Plaintiff Godson for the settlement of his individual claim and

in recognition of his services as the Class Representative. This award is warranted

because of the Class Representative’s involvement in this case and commitment to

following up with counsel to assure that they were actively prosecuting this case. In

addition, Mr. Godson was actively involved not only in filing and litigating this case,

but in appearing for a deposition and in spending time with counsel and with Mr.

Russ negotiating the settlement on two separate days. Most importantly, however,

the award is, in part, to compensate Plaintiff for his individual claims against

Defendants. In sum, Plaintiff has been a model class representative, and the

proposed award is both reasonable and of the type commonly approved. See

Bromberg Decl.

   V.       Cy Pres Award

         Any funds from settlement checks un-cashed (i.e., checks not cashed within

90 days of the date on which they were mailed to Class Members) or other

undistributed funds shall be awarded to the Western New York Law Center as the

cy pres recipient, subject to the Court’s approval.

   VI.      The attorney fees and costs sought by Plaintiff on behalf of the class are
            fair and reasonable

         Plaintiff, on behalf of the class, seeks a recovery of $350,000 for attorney fees

and costs. This amount was agreed upon after the parties had agreed on the

settlement fund to the class (subject to reaching a final agreement). This sum for

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fees and costs does not impact the amount of money going to the class members in

any way. Still, under Amchem Products, Inc. v. Windsor, Amchem Products, Inc. v.

Windsor, 521 U.S. 591 (1997), the Court must ensure that the payment is fair and

reasonable.

      Congress enacted the FDCPA more than three decades ago because of

“abundant evidence of the use of abusive, deceptive, and unfair debt collection

practices” that harm the marketplace economy by “contribut[ing] to the number of

personal bankruptcies, to marital instability, to the loss of jobs, and to invasion of

individual privacy.” 15 U.S.C. § 1692(a). Congress found that existing laws and

procedures were “inadequate to protect consumers” and “means other than

misrepresentation or other abusive debt collection techniques are available for the

effective collection of debts.” 15 U.S.C. § 1692(b) and (c). Congress encouraged

consumers to bring FDCPA actions before Federal Article III judges by eliminating

any “amount in controversy” requirement. 15 U.S.C. § 1692k(d). Congress also

fostered enforcement of the FDCPA by enacting statutory damages and mandating

that debt collectors pay “reasonable attorney’s fees as determined by the court.” 15

U.S.C. § 1692k(a)(3).

      Where a statutory attorney fees provision is phrased in mandatory terms,

“fees may be denied a successful plaintiff only in the most unusual of

circumstances.” De Jesus v. Banco Popular de Puerto Rico, 918 F.2d 232, 234 (1st

Cir. 1990) (truth in lending). An award of fees is mandatory in FDCPA cases,


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Zagorski v. Midwest Billing Services, Inc., 128 F.3d 1164 (7th Cir. 1997); Tolentino

v. Friedman, 46 F.3d 645, 651 (7th Cir. 1995); Graziano v. Harrison, 950 F.2d 107,

113-14 (3d Cir. 1991) (FDCPA “mandates an award of attorney’s fees as a means of

fulfilling Congress’s intent that the Act should be enforced by debtors acting as

private attorneys general”), even if there has been no award of actual or statutory

damages. Emanuel v. American Credit Exchange, 870 F.2d 805, 808 (2d Cir. 1989);

Pipiles v. Credit Bureau of Lockport, 886 F.2d 22, 28 (2d Cir. 1989). Civil suits will

deter abusive practices only if it is economically feasible for consumers to bring

them. “Unless consumers can recover attorney’s fees, it may not be possible for them

to pursue small claims. . . . Unscrupulous collection agencies have little to fear from

such suits if consumers must pay thousands of dollars in attorney fees to protect

hundreds. Congress recognized this problem and specifically provided for the award

of attorney fees to successful plaintiffs.” Venes v. Professional Service Bureau, Inc.,

353 N.W.2d 671 (Minn. App. 1984).

          A. The proposed fee is reasonable

       In Arbor Hill Concerned Citizens Neighborhood Ass’n v. County of Albany,

522 F.3d 182 (2d Cir. 2008), the Second Circuit clarified the proper analysis for a

district court to undertake in exercising its considerable discretion in awarding

attorney’s fees. A court is to

              bear in mind all of the case-specific variables that we and
              other courts have identified as relevant to the
              reasonableness of attorney’s fees in setting a reasonable
              hourly rate. The reasonable hourly rate is the rate a

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              paying client would be willing to pay. In determining
              what rate a paying client would be willing to pay, the
              district court should consider, among others, the Johnson
              factors; it should also bear in mind that a reasonable,
              paying client wishes to spend the minimum necessary to
              litigate the case effectively. The district court should also
              consider that such an individual might be able to
              negotiate with his or her attorneys, using their desire to
              obtain the reputational benefits that might accrue from
              being associated with the case. The district court should
              then use that reasonable hourly rate to calculate what
              can properly be termed the “presumptively reasonable
              fee.”

Id. at 190.

      As shown below, the Johnson factors, drawn from Johnson v. Georgia

Highway Exp., Inc., 488 F.2d 714 (5th Cir. 1974), overruled on other grounds by

Blanchard v. Bergeron, 489 U.S. 87 (1989), support the reasonableness of the

negotiated fee. The Johnson factors are:

              (1)    the time and labor required;
              (2)    the novelty and difficulty of the questions;
              (3)    the skill requisite to perform the legal services
                     properly;
              (4)    the preclusion of other employment by the attorney
                     due to acceptance of the case;
              (5)    the customary fee in the community;
              (6)    whether the fee is fixed or contingent;
              (7)    time limitations imposed by the client or the
                     circumstances;
              (8)    the amount of time involved and the results
                     obtained;
              (9)    the experience, reputation, and ability of the
                     attorneys;
              (10)   the “undesirability” of the case;
              (11)   the nature and length of the professional
                     relationship with the client; and


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             (12)   awards in similar cases.

Id. at 717-19.

      There is no strict formula as to how these factors are to be applied. Trimpter

v. City of Norfolk, 846 F. Supp. 1295, 1303 (E.D. Va. 1994). Once a figure for

attorney’s fees is calculated using the Johnson factors, that amount becomes the

“lodestar” which can then be adjusted upwards or downwards, again using the

Johnson factors. Hensley v. Eckerhart, 461 U.S. 424, 433-34 (1983). “[M]any of

those factors usually are subsumed within the initial calculation of hours

reasonably expended at a reasonable hourly rate.” Id. at 434 n.9. If the lodestar

figure is properly calculated, adjustment will be unnecessary in most cases. Daly v.

Hill, 790 F.2d 1071, 1078 (4th Cir. 1986). There is a strong presumption that the

lodestar figure (reasonable hours multiplied by a reasonable rate) represents a

reasonable fee. Blanchard v. Bergeron, 489 U.S. 87, 95 (1989), quoting Pennsylvania

v. Delaware Valley Citizens’ Council for Clean Air, 478 U.S. 546, 656 (1986).

Currently prevailing marketplace rates establish the lodestar amount. Missouri v.

Jenkins, 491 U.S. 274, 283 (1989); Blum v. Stenson, 465 U.S. 886, 895 (1984);

DiFilippo v. Morizio, 759 F.2d 231, 235 (2d Cir. 1985) (rejecting 46 hours on pretrial

memo and 42 hours on fee application); Cohen v. West Haven Bd. Of Police Com’rs,

638 F.2d 496, 506 (2d Cir. 1980). “The district court may not reduce the established

market rate by some factor that it believes accounts for differences between large

firms and small firms. Lawyers of common expertise and experience in the same


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market are entitled to the same rate. Bankston v. State of Illinois, 60 F.3d 1249,

1255-56 (7th Cir. 1995); Bailey v. District of Columbia, 839 F. Supp. 888, 891

(D.D.C. 1993) (no distinction between solo and large firm rate); Gary v. Kason

Credit Corp., No. 95-CV-54 (D. Conn. Oct. 21, 1998) (rejecting “overhead”

argument).

      District courts should not treat an attorney’s status as a solo practitioner as

grounds for an automatic reduction in the reasonable hourly rate. Cases suggest

that in determining the relevant “market,” a court may look to rates charged by

those similarly situated, including looking to the rates charged by large- or medium-

sized law firms, based on the widely-held premise that a client represented by a

medium-sized firm pays less than a client represented by a large firm with higher

overhead costs. See e.g., Chambless v. Masters Mate & Masters Pension Plan, 885

F.2d 1053, 1058-59 (2d Cir. 1989); Algie v. RCA Global Commc’ns, Inc., 891 F. Supp.

875, 895 (S.D.N.Y. 1994). But whether or not the aforementioned premise – that the

bigger the firm the higher the attorneys’ hourly rates charged – is correct, and even

assuming it may be that solo practitioners of equal skill, expertise and reputation,

charge less than those at large- or medium-sized firms, courts should not

automatically reduce the reasonable hourly rate based solely on an attorney’s status

as a solo practitioner. Overhead is not a valid reason for why certain attorneys

should be awarded a higher or lower hourly rate. Miele v. New York State

Teamsters Conference Pension & Retirement Fund, 831 F.2d 407, 409 (2d Cir.


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1987); Blum, 465 U.S. at 895-96 (rejecting the Solicitor General’s suggestion that

fees awarded to non-profit legal aid societies be based on a “cost-related standard”).

Rather, overhead merely helps account for why some attorneys charge more for

their services. Indeed, it may be that in certain niche practice areas, attorneys of

the highest “skill, expertise and reputation” have decided to maintain a solo practice

instead of affiliating themselves with a firm. The reasons for doing so may be

numerous, including the inherent problems of higher overhead, fee-sharing, and

imputed conflicts of interest. The focus of the inquiry into the reasonable hourly

rate must instead be determined by reference to “prevailing [rates] in the

community for similar services by lawyers of reasonably comparable skill, expertise,

and reputation.” Blum, 465 U.S. at 295 n.11; Chambless, 885 F.2d at 1058-59.

Working as a solo practitioner may be relevant to defining the market, See

Chambless, 885 F.2d at 1059 (“smaller firms may be subject to their own prevailing

market rate.”), but it would be error to use an attorney’s status as a solo

practitioner as an automatic deduction or shortcut for determining the reasonable

hourly rate. McDonald v. Pension Plan of the NYSA-ILA Pension Trust Fund, 450

F.3d 91, 98 n.6 (2d Cir. 2006) (emphasis added).

      While the Court has discretion to determine the proper fee, “the latitude of its

discretion is narrowed by a presumption that successful [litigants] should recover

reasonable attorney’s fees unless special circumstances render such an award

unjust. . . . Furthermore, where, as here, the party achieves success on the merits,


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an award of all reasonable hours at a reasonable hourly rate, i.e., the lodestar

figure, is presumptively appropriate.” DiFilippo, 759 F.2d at 234 (discussing civil

rights litigants). “[A] party advocating the reduction of the lodestar amount bears

the burden of establishing that a reduction is justified.” United States Football

League v. National Football League, 887 F.2d 408, 413 (2d Cir. 1989) (awarding

$5,500,000 in fees on $3 recovery), cited in Grant v. Martinez, 973 F.2d 96, 101 (2d

Cir. 1992); see Laura B. Bartell, Taxation of Costs and Awards of Expenses in

Federal Court, 101 F.R.D. 553, 560-62 (1984).

          B. Plaintiff’s attorneys’ hourly rates are reasonable

      In Arbor Hill Concerned Citizens Neighborhood Ass’n v. County of Albany,

the Second Circuit held that a reasonable hourly rate is the rate a “paying client

would be willing to pay,” bearing in mind that a “reasonable, paying client wishes to

spend the minimum necessary to litigate the case effectively.” Arbor Hill, 522 F.3d

at 190. Determination of the reasonable hourly rate “contemplates a case-specific

inquiry into the prevailing market rates for counsel of similar experience and skill

to the fee applicants counsel [, which] may ... include judicial notice of the rates

awarded in prior cases and the court’s own familiarity with the rates prevailing in

the district.” See Farbotko v. Clinton County of New York, 433 F.3d 204, 209 (2d

Cir. 2005) (citations omitted). The hourly rates, however, “should be ‘current rather

than historic.’” Underdog Trucking, L.L.C. v. Verizon Serv. Corp., 276 F.R.D. 105,

108 (S.D.N.Y.2011) (quoting Reiter v. MTA N.Y.C. Transit Auth., 457 F.3d 224, 232


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(2d Cir. 2006), cert. denied, 549 U.S. 1211 (2007)) (inner citation and quotation

marks omitted). The Second Circuit has stated that, in determining what rate a

paying client would be willing to pay, the district court should assess case-specific

considerations, including the factors enumerated in Johnson. See Johnson, 488 F.2d

at 717–19. See also Arbor Hill, 522 F.3d at 186–90.

      The requested rates of Class Counsel here – $550 an hour for Mr. Bromberg

(a solo practitioner in New York City), $450 an hour for Mr. Hiller (the principal of

a law firm headquartered in Buffalo), $400 an hour for Mr. Miller (a solo

practitioner in Winston-Salem, NC), $400 an hour for Michael N. Litrownik (for the

work performed while employed as an associate at Mr. Bromberg’s office), and $300

an hour for Seth Andrews (an associate at a law firm headquartered in Buffalo) –

represent the prevailing rates for attorneys prosecuting complex consumer fraud

class actions in their respective markets. As set forth in the accompanying

declarations, Mr. Bromberg has been awarded $550-$600 an hour – with multipliers

up to 3.2 – for results similar to those achieved here. In a decision delivered from

the bench in 2014, the Honorable Paul A. Engelmayer, of the Southern District of

New York, noted how risky consumer-protection litigation can be and explained his

decision to award Mr. Bromberg $550 with a 3.2 multiplier in part, as follows:

             Second, from my colloquy with Mr. Bromberg, it became
             clear that this case can be seen in a broader perspective.
             Mr. Bromberg and Mr. Schnall are in the practice of doing
             consumer rights litigations. Some of those cases bear
             fruit. Some of them do not. It is appropriate, given the
             public service that is inherent in such litigation, to take

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             into account the swings and misses as well as the base
             hits here. And, therefore, if one extrapolates the prism
             and broadens it to include lawsuits brought that did not
             bear fruit, the hourly rate that is imputed in the
             successful cases in some sense overstates the real hourly
             rate here. Putting all of that together, I regard the time
             and labor extended by counsel here as a factor that to
             some degree favors the settlement here.

See Strubel v. Talbots Classics National Bank, SDNY Case No. 13-CV-1106-PAE,

Transcript of Final Approval Hearing, Document No. 42 at 32-33. Judge

Engelmayer well understood the risks, because he had recently dismissed a Truth

in Lending Act case filed by Mr. Bromberg.

      More recently, in the Eastern District of Virginia, the Court awarded Mr.

Bromberg $550 an hour with a 1.5 multiplier for his work on an FDCPA class action

that, like this one, required extensive discovery and motion practice. See Biber v.

Pioneer Credit Recovery, Inc., 2018 WL 1633603 (E.D.Vir. Jan. 31, 2018). And most

recently, in the Eastern District of Texas, the Court awarded Mr. Bromberg $550 an

hour for his work on an FDCPA class action. See Heironimus v. Cavalry Portfolio

Services, LLC, S.D. Texas, Case No. 17-CV-121.

      Comparable awards also support Mr. Bromberg’s rates. In 2013, in a

contested fee petition in the Southern District of New York, Magistrate Judge

Yanthis awarded a rate of $550 an hour for an attorney with credentials similar to

those of Mr. Bromberg, and a rate of $300 an hour for a former associate of Mr.

Bromberg’s. Specifically, in a 2013 Report and Recommendation in De La Paz v.

Rubin & Rothman, LLC, De La Paz v. Rubin & Rothman, LLC, No. 11-CV- 9625,

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2013 WL 6184425 (S.D.N.Y. Nov. 25, 2013), Magistrate Judge Yanthis awarded

$550 an hour to James Fishman (a seasoned attorney with whom Mr. Bromberg has

worked and has frequently lectured at the City Bar and at national consumer-law

conferences), and $300 an hour for Peter Lane (an attorney who began his legal

career as an associate working for Mr. Bromberg). The Report and Recommendation

of Judge Yanthis was adopted by Judge Ramos in an Opinion and Order. See Id. at

*1. Similarly, in White v. First American Registry, White v. First American

Registry, No. 04-CV-1611, 2007 WL 703926 (S.D.N.Y. Mar. 7, 2007), in 2007 Judge

Kaplan awarded Mr. Fishman a rate of $550 an hour as part of a class-action

settlement in a case brought under the Fair Credit Reporting Act, the New York

Fair Credit Reporting Act, and General Business Law § 349. Thus, the contested

settlement award in De La Paz and the uncontested settlement award in White

represent excellent measures of the appropriate billing rates for class action cases

like this one, involving complicated consumer-credit issues.

      It is true that the Second Circuit has held that when determining the

prevailing market rate, district courts “should generally use the hourly rates

employed in the district in which the reviewing court sits.” Arbor Hill, 522 F.3d at

192 (quoting In re “Agent Orange” Prods. Liab. Litig., 818 F.2d 226, 232 (2d

Cir.1987)); see also Simmons v. New York City Transit Auth., 575 F.3d 170, 174 (2d

Cir.2009). It is also true that the Circuit held there is a strong presumption that “a

reasonable, paying client would in most cases hire counsel from within his district”


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and that this presumption can be rebutted “only in the unusual case—if the party

wishing the district court to use a higher rate demonstrates that his or her

retention of an out-of-district attorney was reasonable under the circumstances as

they would be reckoned by a client paying the attorney's bill.” Arbor Hill, 522 F.3d

at 191.

      The Second Circuit has held that in order to overcome this “forum rule,” the

fee applicant “must persuasively establish that a reasonable client would have

selected out-of-district counsel because doing so would likely (not just possibly)

produce a substantially better net result.” Simmons, 575 F.3d at 175. “Among the

ways an applicant may make such a showing is by establishing that local counsel

possessing requisite experience were unwilling or unable to take the case ... or by

establishing, in a case requiring special expertise, that no in-district counsel

possessed such expertise.” Id. at 176 (internal citation omitted).

      Here, Plaintiff has made this showing. That is, with this memorandum,

Plaintiff is filing two declarations from two highly respected consumer-protection

attorneys, all of whom practice FDCPA law in the Southern and Eastern Districts.

As all three attorneys attest, neither they nor any other attorney regularly

prosecutes, much less certifies, consumer class actions in the Western District of

New York. The sole exception is the Bromberg Law Office, P.C. Further

demonstrating that there is no in-district consumer class-action bar is the fact that

Defendants found it necessary to hire attorneys from Chicago and Manhattan once


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it became apparent that the case was not going to settle on an individual basis. Mr.

Bromberg regularly flew to Buffalo for court appearances, discovery, and mediation

on the same plane as Defendants’ Manhattan counsel; moreover, Defendants’

Chicago counsel flew to Buffalo for mediation and to South Carolina to defend a

deposition. These facts further illustrate the shortage of attorneys willing and able

to take on these sorts of cases in Western New York. In short, this case presents the

kind of exceptional circumstances that warrant applying out-of-district rates.

          C. An upward adjustment should be made

      The burden of proof is on the opponent to present specific evidence that a

lower amount is appropriate. See, e.g., United States Football League, 887 F.2d at

413; Gates v. Deukmejian, 987 F.2d 1392, 1397-98 (9th Cir. 1992) (fee opponent

must submit evidence); Brinker v. Giuffrida, 798 F.2d 661, 668 (3d Cir. 1986)

(“[T]here is ordinarily no reason for a court to disregard uncontested affidavits of a

fee applicant”). Here, Plaintiffs’ lodestar totals $301,760 and Plaintiff’s costs total

$14,955.17. This case settled due to Plaintiffs’ counsel’s knowledge and expertise in

the field of consumer-protection law. With the exception of the Bromberg Law

Office, P.C., no law firms are regularly prosecuting FDCPA cases to class

certification in the federal or state courts in New York. In other words, it is rare

indeed for FDCPA cases to proceed to class certification – whether on merits

certification or as part of certification on settlement – in New York. Large firms will

not take class cases under the FDCPA because of the cap on statutory damages, and


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small firms rarely prosecute such cases effectively. Accordingly, Plaintiff requests

an extremely modest multiplier of approximately 1.11 for achieving extraordinary

results. Vizcaino v. Microsoft, 290 F.3d 1043 (9th Cir. 2002) (surveying many

decisions awarding multipliers and concluding that multipliers between 1 and 4 are

the norm in common fund cases); In re Cendent Corp. PRIDES Litig., 243 F.3d 722,

742 (3d Cir. 2001) (“multiples ranging from one to four are frequently awarded in

common fund cases when the lodestar method is applied.”); New England

Carpenters Health Benefits Fund v. First Databank, Inc., No. 05-11148, 2009 WL

2408560, at *2 (D. Mass. Aug. 3, 2009) (approving multiplier of about 8.3 times

lodestar, where attorney fees represented 20% of the common fund); In re Beverly

Hills Fire Litig., 639 F.Supp. 915 (E.D.Ky, 1986) (five); In re Cenco Inc. Sec. Litig.,

519 F.Supp. 322 (N.D.Ill. 1981) (multiplier of four to lead firm). Moreover, under the

adjustment factors identified in Johnson, the fees and costs agreed upon by the

parties are fair and reasonable. Johnson, 488 F.2d at 717-719.

      It is common for judges within the Western District of New York to apply

such multipliers. See, e.g., Cunningham v. Suds Pizza, Inc., 290 F. Supp. 3d 214,

232-33 (W.D.N.Y. 2017) (Feldman, M.J.) (applying 2.84 multiplier); In re Eastman

Kodak ERISA Litig., 213 F. Supp. 3d 503, 509 (W.D.N.Y. 2016) (Larimer,

J.) (approving lodestar multiplier of 3.25); Acevedo v. Workfit Medical LLC, 187 F.

Supp. 3d 370 (W.D.N.Y. 2016) (Wolford, J.) (endorsing lodestar multiplier of

1.3); Davis v. J.P. Morgan Chase & Co., 827 F. Supp. 2d 172, 185 (W.D.N.Y. Oct. 11,


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2011) (Larimer, J.) (lodestar multiplier of 5.3 in FSLA class action); Odom v. Hazen

Transport, Inc., 275 F.R.D. 400, 413 (W.D.N.Y: 2011) (Payson, J.) (lodestar

multiplier of 1.04).

      1. The time and labor required.

      Even with experienced class counsel on both sides, this case took years to

settle. Plaintiffs submit that the time expended prosecuting this action would have

been considerably greater had different counsel represented the Class. That is,

Class Counsel’s experience in consumer-protection litigation undoubtedly resulted

in obtaining the discovery necessary to show that Defendants had miscalculated

interest rates and obtaining an admission from LVNV that its net worth is greater

than $50 million — both of which were key pressure points that induced Defendants

to settle. See Withers v. Eveland, 997 F. Supp. 738, 740 (E.D.Va. 1998) (finding that

“there are very few attorneys who specialize in litigating Consumer Credit

Protection Act cases”). Even a cursory review of the hundreds of cases filed under

the Consumer Credit Protection Act – i.e., under TILA, the FDCPA, the FCRA,

ECOA, etc. – every year in the U.S. District Courts in New York will show that in

many of the instances where class certification was sought and achieved, Plaintiff’s

counsel was retained as lead counsel. This is the very definition of a rare and

extraordinary circumstance for which the Courts contemplate modest multipliers.

      Plaintiff’s attorneys have small firms – for the Bromberg Law Office, one

attorney (plus a second attorney during much of the litigation);for the Law Office of


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Kenneth Hiller, PLLC, two attorneys who handle FDCPA cases; and for the Salem

Community Law Office, one attorney – and, as such, they do the bulk of the work on

their own. As one district court has noted:

             . . . attorneys, like plaintiff’s counsel, operating either as
             solo practitioners or in small firms, often lack the
             resources to retain a large staff of junior lawyers who
             could handle (certain more clerically related) tasks more
             economically. Denying plaintiffs compensation for these
             tasks would unfairly punish plaintiffs and their counsel
             for not staffing this case as if they had the manpower of a
             major law firm.

Bailey, 839 F. Supp. at 891; see also, Withers v. Eveland, 997 F. Supp. at

740, and Morgan v. Credit Adjustment Board, 1998 U.S. Dist. Lexis 8135 at

5. Therefore, the time spent by Plaintiff’s counsel to complete this litigation,

as set forth in the attachments hereto, warrants upward adjustment of the

lodestar. Furthermore, when the settlement checks are sent out, Class

Counsel anticipates, based on experience, that Mr. Bromberg will receive

numerous inquiries from class members.

      2. The novelty and difficulty of the questions.

      Because the questions presented by this case were novel, only seasoned

FDCPA litigators would have noticed them. Plaintiffs’ attorneys know of no one who

has litigated many of the various FDCPA issues here. In fact, it was only years of

motion practice, paper discovery, and depositions that the parties were able to work

out a settlement on a class-wide basis. Furthermore, it was only when Class

Counsel learned that Defendants had substantially overstated the number of class

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members that Mr. Bromberg was able to put forward a proposal that ultimately led

to class settlement. And negotiating settlement of the various class issues requires

a degree of specialized legal acumen regarding the FDCPA. Both Mr. Bromberg and

Mr. Miller have had the unfortunate duty of occasionally having to step forward to

try to stop FDCPA and other class settlements that would have sold consumers

short, so they are keenly aware of the issues that had to be given close review in the

settlement agreement. Thus, the novelty and difficulty of litigating any class action

and especially one in such a specialized field warrants upward adjustment of the

lodestar.

      3. The skill requisite to perform the legal services properly.

      Successful litigation of FDCPA class actions requires skill and familiarity

with the issues involved. Plaintiff’s counsel knows of very few attorneys who

purport to be able to litigate plaintiffs’ credit-consumer-protection cases. Most

attorneys do not recognize the legal issues involved in such cases, and requests for

representation are generally turned away by members of the Bar. In the Western

District of New York, in particular, few if any class actions are filed under the

FDPCA and even fewer are settled on a class-wide basis. Because of the skill of

Plaintiffs’ counsel and the rarity of successfully prosecuting FDPCA class actions in

this district, Plaintiffs request an upward adjustment of the lodestar.

      4. The preclusion of other employment.

      The time spent on this case was not, and could not be, spent at the same time


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on other cases. There are substantial opportunity costs in preparing the necessary

documentation and briefing to represent plaintiffs in a contingency or fee-shifting

case in federal court. The substantial amount of time expended on Plaintiff’s behalf

was time which would have been spent on other matters, had this case not been

filed or litigated to this extent.

       Therefore, it is appropriate to consider that whenever an attorney takes a

case, he does so to the exclusion of accepting other work. Plaintiff’s counsel spent

seven years reviewing this case and litigating it to its conclusion, to the exclusion of

helping other consumers. Thus, some consumers did not receive counsel’s help so

that Mr. Godson and the Class could. Because the time spent on this case would

have been expended on other matters, this factor provides a basis for an upward

adjustment of the lodestar.

       5. The customary fee for like work in the community.

       Plaintiffs’ fee request is well within the range of similar work and is an

amount recognized by other courts. The fee is thus reasonable and represents the

going rate for like work in this area. But the involvement of Plaintiff’s counsel in

this case undoubtedly is the primary factor that led to settlement on a class basis.

Moreover, because there is simply no relevant community of consumer class-action

litigators in this district, the relevant question becomes one of the rates that Mr.

Bromberg and Mr. Miller could command in their home districts. As set forth in the

accompanying declarations, Mr. Bromberg is being awarded $550-$600 an hour for


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his work, and a rate of $400 an hour for Mr. Miller’s work is eminently reasonable.

Given that Mr. Hiller has been admitted for more years than Mr. Bromberg and

that Mr. Andrews has been admitted for longer than Mr. Miller, their rates should

be the same for having worked on this complicated case with Mr. Bromberg and Mr.

Miller. Therefore, Plaintiff requests an upward adjustment of the lodestar. This

Johnson factor is addressed in greater detail below.

      6. Whether the fee is fixed or contingent.

      An award of attorney fees in a contingency fee matter should compensate

counsel for the risk of receiving no compensation. In consumer-protection cases, the

fee is very often contingent – not on the amount of damages, but on an award by the

court or agreement by the opponent. In a private attorney general case, Congress

encourages counsel to sue, recognizing that counsel cannot charge the client an

hourly fee, because the fee may be out of proportion to the recovery. If contingent,

the fee award should compensate counsel for the risk of receiving no compensation.

“Lawyers operating in the marketplace can be expected to charge a higher hourly

rate when their compensation is contingent on success than when they will be

promptly paid, win or lose.” Blum, 465 U.S. at 903. For example, Plaintiffs’ attorney

was also involved in the FDCPA case entitled Lemire v. Wolpoff & Abramson, P.C.,

D. Conn., Docket No. 08-cv-249(CSH). There the plaintiffs settled the case after

prevailing on a disputed motion to certify the class. The settlement provided for a

negotiated attorney fee. Notwithstanding the successful work performed in that


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case, the defendant dissolved, making collection of the settlement amount

impracticable, and necessitating decertification.

      Plaintiff’s counsel was willing to provide services to Mr. Godson whether he

won or lost his case and whether or not counsel would receive compensation for that

work. This factor justifies an upward adjustment of the lodestar.

      7. Time limitations imposed by the client or the circumstances.

      The time limits in this case were only those imposed by the applicable

statutes of limitations, the Rules, and those set by the Court. Therefore, this factor

is of no consequence.

      8. The amount involved and the results obtained.

      The results obtained for the Plaintiff were significant, and they reflect

counsel’s substantial efforts in preparing and litigating this matter. Plaintiff has

obtained a monetary recovery that represents a substantial portion of the maximum

recovery. By any calculation, this is an extraordinary result, warranting an upward

adjustment of the lodestar.

      9. The experience, reputation and ability of the attorney.

      Plaintiff’s attorney, Brian L. Bromberg, has been practicing since 1992, is

admitted in New York, New Jersey, and California, and has established a

reputation as a consumer-protection attorney. See accompanying declaration of

Brian L. Bromberg. Although his former associate, Michael N. Litrownik, and his

current associate, Jonathan R. Miller, have been admitted for fewer years, they are


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admitted to state bars and have extensive experience in the state and federal

courts. In fact, before he left Mr. Bromberg’s firm, Mr. Litrownik tried two cases

with Mr. Bromberg – one an FLSA collective arbitration and the other a § 1983 trial

before a jury in the Eastern District of New York. As for Mr. Miller, he attended

Harvard Law School, clerked for a judge of the Supreme Court of Missouri, and is

admitted in New York, Missouri, and North Carolina. Plaintiff’s Buffalo attorneys,

Kenneth Hiller and Seth Andrews, have been practicing since 1984 and 2005,

respectively. They are the leading consumer-protection lawyers in this District. See

accompanying declarations of Kenneth Hiller and Seth Andrews. These factors

warrant an upward adjustment of the lodestar.

      10. The undesirability of the case.

      There are few attorneys who have the knowledge, ability and willingness to

represent consumers in this area of law. Most attorneys are unwilling to take the

risk of large investments of time for what appear at first blush to be minor, small

dollar cases. No other attorneys in this Circuit regularly prosecute Consumer Credit

Protection Act cases to conclusion as class actions. Searches on Westlaw and

PACER will reveal that many of the successful certifications of a class under the

FDCPA in the Southern and Eastern Districts of New York over the past 15 years

have involved at least one of Mr. Bromberg as class counsel.) Practically no FDCPA

class actions are certified in the Western District of New York and the only one

Class Counsel knows of, Easterling v. Collecto, was filed and prosecuted – at both


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the district-court and circuit levels – by Mr. Bromberg, Mr. Hiller, and Mr.

Andrews. Many other attorneys will file such cases as class actions, but few push

them to certification. (Plaintiff’s attorneys are also willing to push cases beyond the

district-court level, frequently taking cases up on appeal.) Accordingly, this factor,

too, warrants an upward modification of the lodestar.

      11. The nature and length of the professional relationship with the client.

      Mr. Godson retained his attorneys specifically to pursue the specialized

consumer-protection laws at issue. Their employment was sought because of their

legal abilities and reputations in this area of the law. Such representation is limited

to consumer-protection claims, which are episodic rather than ongoing. Unlike their

big-firm brethren, consumer attorneys cannot rely on hefty retainers from paying

institutional clients or insurance companies over many years. Therefore, this

Johnson factor warrants an upward modification.

      12. Awards in similar cases.

      There are no reported cases in New York discussing attorney fee awards in

successful FDCPA class actions that took seven years to litigate. Courts recognize

that fee awards are to mimic the marketplace. Thus, “[p]aying counsel in FDCPA

cases at rates lower than those they can obtain in the marketplace is inconsistent

with the congressional desire to enforce the FDCPA through private actions, and

therefore misapplies the law.” Tolentino, 46 F.3d at 653; Zagorski, 128 F.3d 1164.




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Because this case is unusual, having taken seven years to litigate – and prevail – an

upward modification of the lodestar is warranted.

   D. Award to representative Plaintiffs

      Plaintiff requested, and Defendants have agreed to, a modest $10,000 award

to Mr. Godson and the vacatur of the ancient judgment against him in Florida.

Plaintiff took time to meet with class counsel, assisted with the case, and kept

apprised of case status and developments. More importantly, he appeared for

deposition and for lengthy in-person settlement conferences before Mr. Russ and he

was instrumental in pushing making sure that his attorneys worked for the good of

the Class. Such awards are both reasonable and of the type commonly approved.

See, e.g, In re: Marine Midland Motor Vehicle Leasing Litigation, 155 F.R.D. 416

(W.D.N.Y. 1994).

                                      Conclusion

      The Parties have reached a Settlement in this case that provides a genuine

benefit to the Class Members. After seven years of litigation that required the

active and regular involvement of Mr. Bromberg, Mr. Miller (and his predecessor at

the Bromberg Law Office, P.C.), Mr. Hiller, and Mr. Andrews, the Parties achieved

an excellent settlement. The Settlement is an excellent result considering the size of

the class, the cap on total possible recovery, and the fact that one of the defendants

is now out of business. Each Class Member will receive a substantial recovery of

$688. In addition, the terms of the Settlement as well as the circumstances


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surrounding negotiations and its elimination of further costs caused by litigating

this case through trial and appeal satisfy the Second Circuit’s strictures for final

approval. Accordingly, Plaintiff asks the Court for an Order approving the

Settlement and Class Counsel’s request for attorney fees and costs.

Dated: September 21, 2018

                                        PLAINTIFF, CHRISTOPHER GODSON,
                                        Individually, And On Behalf Of the Class,

                                          By: /s/ Brian L. Bromberg
                                               Brian L. Bromberg




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